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AO 245B (Rev 12/10) Criminal Judgment Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                         District of New Mexico

                  UNITED STATES OF AMERICA                            Judgment in a Criminal Case
                             V.
                          Carey Gonzales                              (For Offenses Committed On or After November 1, 1987)
                                                                      Case Number: 1:13CR00327-002JB
                                                                      USM Number: 70280-051
                                                                      Defense Attorney: Molly Schmidt-Nowara, Appointed
THE DEFENDANT:

c    pleaded guilty to count(s) 6 of Indictment
d    pleaded nolo contendere to count(s) which was accepted by the court.
d    after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section Nature of Offense                                                        Offense Ended              Count
                                                                                                                      Number(s)
18 U.S.C. Sec.      Possession of a Matter Containing Visual Depictions of Minors          01/11/2013                 6
2252(a)(4)(B),      Engaged in Sexually Explicit Conduct
2252(b)(2) and
2256

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

d    The defendant has been found not guilty on count .
d    Count dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      October 28, 2013
                                                                      Date of Imposition of Judgment


                                                                      /s/ James O. Browning
                                                                      Signature of Judge


                                                                      Honorable James O. Browning
                                                                      United States District Judge
                                                                      Name and Title of Judge


                                                                      January 7, 2014
                                                                      Date Signed
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AO 245B (Rev. 12/10) Sheet 2 - Imprisonment                                                                            Judgment - Page 2 of 7


Defendant: Carey Gonzales
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                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 36 months.

For the reasons stated on the record at the sentencing hearing held on October 28, 2013, the Court varies.

c      The court makes the following recommendations to the Bureau of Prisons:

       Phoenix Federal Correctional Institution, Phoenix, Arizona, if eligible
       The Court recommends the Defendant participate in the Bureau of Prisons Sex Offender program.

       Further, the Court recommends that the USMS and local facilities allow the Defendant to correspond with the co-Defendant
       and receive correspondence.

c      The defendant is remanded to the custody of the United States Marshal.
d      The defendant shall surrender to the United States Marshal for this district:
       d    at on
       d    as notified by the United States Marshal.
d      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       d    before 2 p.m. on
       d    as notified by the United States Marshal
       d    as notified by the Probation or Pretrial Services Office.


                                                              RETURN

I have executed this judgment as follows:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a Certified copy of this judgment.




                                                                     UNITED STATES MARSHAL

                                                                    By
                                                                     DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 12/10) - Sheet 3 - Supervised Release                                                                                   Judgment - Page 3 of 7


Defendant: Carey Gonzales
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                                                          SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 20 years .

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

d      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse.
       (Check, if applicable.)
c      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable).
c      The defendant shall cooperate in the collection of DNA as directed by statute. (Check, if applicable).
c      The defendant shall register with the state, local, tribal and/or other appropriate sex offender registration agency in the state where the defendant
       resides, works, or is a student, as directed by the probation officer. (Check, if applicable.)
d      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Criminal Monetary
Penalties sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached
page.

                                                      STANDARD CONDITIONS OF SUPERVISION

1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer in a manner and frequency directed by the Court or probation officer;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
       reasons;
6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
       or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
       observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
       the court; and
13)    the defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any local, state, tribal, or federal registration agency in the jurisdiction in which he or she
       resides, works, or is a student. For initial registration purposes only, a sex offender shall also register in the jurisdiction in which convicted if
       such jurisdiction is different from the juridsiction of residence;
14)    the defendant shall waive his/her right of confidentiality and allow the treatment provider to release treatment records to the probation officer
       and sign all necessary releases to enable the probation officer to monitor the defendant`s progress. The probation officer shall disclose the
       presentence report and/or any previous sex offender or mental health evaluations to the treatment provider;
15)    the defendant shall submit to a search of person, property, house, residence, vehicles, documents, businesses, computers, and other electronic
       communications or data storage devices or media effects [as defined in 18 U.S.C. 1030(e)(1)], at any time, by a probation officer with reasonable
       suspicion concerning a violation of a condition of probation or supervised release, or unlawful conduct by the person, in the lawful discharge of
       the officer`s supervision functions. The defendant shall inform any other occupants that the premises may be subject to searches pursuant to the
       condition. Failure to submit to a search may be grounds for revocation of supervision;
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16)   the defendant shall not have any direct or indirect contact or communication with the victim or his or her family, or go near or enter the premises
      where the victim or his or her family resides, is employed, attends school or treatment, except under circumstances approved in advance and in
      writing by the probation officer.
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Defendant: Carey Gonzales
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                                  SPECIAL CONDITIONS OF SUPERVISION

The defendant must refrain from the use and possession of synthetic cannabinoids or other legally sold
designer drugs.

The defendant must provide the probation officer access to any requested financial information, personal
income tax returns, authorization for release of credit information, and other business financial information
in which the defendant has a control or interest.

Immediately upon the defendant's commencement of supervision, or as soon as possible thereafter, the
defendant shall undergo a risk assessment and/or psychosexual evaluation and begin participating in sex
offender treatment, consistent with the recommendations of the assessment and/or evaluation. Furthermore,
the defendant shall submit to clinical polygraph testing and any other specific sex offender testing, as directed
by the probation officer. The defendant may be required to pay a portion of the cost of testing or treatment
as determined by the probation officer.

The defendant shall be prohibited from viewing or possessing any material including photographs, images,
books, writings, drawings, videos or video games, depicting and/or describing sexually explicit conduct or
child pornography as defined in 18 U.S.C. 2256.

The defendant is restricted from engaging in an occupation where she has access to children, without prior
approval of the probation officer.

The defendant must not loiter within 100 feet of school yards, parks, playgrounds, arcades, or other places
used primarily by children under the age of 18.

The defendant must not volunteer for any activities in which she supervises children or adults with mental
or physical disabilities.

The defendant shall consent, at the direction of the United States Probation Officer, to having installed on
her computer(s), any hardware or software systems to monitor her computer use. The defendant understands
that the software may record any and all activity on her computer. Monitoring will occur on a random
and/or regular basis. The defendant will warn others of the existence of the monitoring software placed on
her computer.

The Defendant must not have contact with children under the age of 18 without prior written permission
of the probation officer. She must immediately report unauthorized contact with children to the probation
officer. The Court will make an exception for the Defendant`s children.

The defendant must participate in and successfully complete a substance abuse treatment program as
recommended by the treatment provider and as approved by the probation officer, which may include drug
testing and outpatient counseling. The defendant is prohibited from obstructing or attempting to obstruct
or tamper, in any fashion, with the collection, efficiency and accuracy of any substance abuse testing device
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or procedure. The defendant may be required to pay a portion of the cost of treatment and/or drug testing
as determined by the Probation Office.
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AO 245B (Rev.12/10) Sheet 5, Part A - Criminal Monetary Penalties                                                        Judgment - Page 7 of 7


Defendant: Carey Gonzales
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                                                 CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments.
d        The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                     Assessment                           Fine                         Restitution
                                              $100.00                           $0.00                           $500.00


                                                         SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A       c In full immediately; or
B       d $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties:Criminal monetary penalties are to be made payable
by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico
87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case number and type of
payment.

Pursuant to the Mandatory Restitution for Sexual Exploitation of Children Act and 18 U.S.C. 2259, it is further ordered that the
Defendant will make restitution to the victim of the "Vicky" series in the amount of $500.00. The restitution will be paid to the
victim immediately. For tracking purposes, any payments made by the Defendant should be submitted to the Clerk of Court,
Attention: Intake, Case number 1:13CR00327-002JB, at 333 Lomas Blvd., N.W., Suite 270, Albuquerque, New Mexico 87102.
The payment will then be forwarded to the victim(s). The victim(s) recovery is limited to the amount of (his/her) loss, and the
Defendant`s liability for restitution ceases if, and when, the victim(s) receive(s) restitution.

Consistent with a stipulation in the Plea Agreement, the Defendant forfeits her rights, title and interest in the computers, DVD`s
and electronic devices as listed in para. 16 of the Plea Agreement.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments, except
those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by the court,
the probation officer, or the United States attorney.
